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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-04-5234 REC
                                       )
10                                     )       ORDER DIRECTING FRESNO
                                       )       COUNTY JAIL TO ALLOW LIBRARY
11                   Plaintiff,        )       ACCESS AND TELEPHONE CALLS
                                       )       TO DEFENDANT AND DIRECTING
12             vs.                     )       U.S. MARSHAL TO PERSONALLY
                                       )       SERVE ORDER ON DEFENDANT
13                                     )
     CLIFTON ELIAS HOWARD III,         )
14                                     )
                                       )
15                   Defendant.        )
                                       )
16                                     )

17        Defendant, Clifton Elais Howard III, who is representing

18   himself in this criminal action, has moved for a court order

19   directing the Fresno County Jail to allow defendant access to the

20   jail law library and to make telephone calls in connection with

21   the preparation of his defense in accordance with the policy of

22   the Fresno County Jail.

23        The court hereby grants defendant's motion.          The Fresno

24   County Jail shall allow defendant access to the jail law library

25   and to make telephone calls in connection with the preparation of

26   his defense in this criminal action in accordance with the

                                           1
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1    policies and procedures regarding such law library access and

2    telephone calls adopted by the Fresno County Jail.

3         The U.S. Marshal is ordered to personally serve this Order

4    on defendant at the Fresno County Jail.

5         IT IS SO ORDERED.

6    Dated:   April 18, 2005                       /s/ Robert E. Coyle
     668554                                    UNITED STATES DISTRICT JUDGE
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